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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,

            v.                                        CRIMINAL NO. 22-342 (SCC)

  [1] WANDA VÁZQUEZ GARCED,
  [2] JULIO M. HERRERA VELUTINI,
  [3] MARK T. ROSSINI,
  Defendants.


 UNITED STATES’ MOTION IN COMPLIANCE WITH COURT ORDER REGARDING IN
                  CAMERA REVIEW OF CHS MATERIALS
       The United States, by and through the undersigned attorneys, and pursuant to the Court’s

Scheduling Order, suggests either February 8, 2024 or February 12, 2024 as dates for in-camera

review of CHS materials in the custody of the FBI. The FBI representative is available on both

those days to present the material to the Court in chambers.

       WHEREFORE, the United States requests that the Court take notice of the foregoing and

let the Government know the preferred date and time for the in-camera inspection.

                                       Certificate of Service

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will notify all counsel of record.

       RESPECTFULLY SUBMITTED, this 29th day of January.


                                              COREY R. AMUNDSON
                                              Chief, Public Integrity Section
                                              U.S Department of Justice

                                              /s/ Nicholas W. Cannon
                                              Nicholas W. Cannon (G01814)
                                              Ryan R. Crosswell (G03502)
                                              Trial Attorneys
                                              Department of Justice

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